IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
MAURICE FAYNE, MOTION TO VACATE
Fed. Reg. No. 73197-019, 28 U.S.C. § 2255
Movant, CRIMINAL ACTION FILE
NO. 1:20-CR-228-MHC-JKL
v.
CIVIL ACTION FILE
UNITED STATES OF AMERICA, NO. 1:23-CV-4917-MHC-JKL
Respondent.
ORDER

This matter is before the Court on the Report and Recommendation
(“R&R”) of the Magistrate Judge [Doc. 337] recommending that Movant’s Motion
to Vacate, set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 be denied
without prejudice for failure to comply with a lawful order of the Court. The Order
for Service of the R&R [Doc. 338] provided notice that, in accordance with 28
U.S.C. § 636(b)(1), Movant was authorized to file objections within fourteen (14)
days of the service of that Order. No objections to the R&R have been filed within
the permitted time period.

Absent objection, the district court judge “may accept, reject, or modify, in

whole or in part, the findings or recommendations made by the magistrate judge,”
28 U.S.C. § 636(b)(1). Based upon the absence of objections to the R&R, in

accordance with 28 U.S.C. § 636(b)(1), the Court has reviewed the R&R for plain

error. See United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983). The Court
finds no plain error and that the R&R is supported by law.

Consequently, the Cour. APPROVES AND ADOPTS the Report and
Recommendation [Doc. 337] as the Opinion and Order of the Court. It is hereby
ORDERED that Movant’s Motion to Vacate, Set Aside, or Correct Sentence
pursuant to 28 U.S.C. § 2255 [Doc. 326] is DENIED WITHOUT PREJUDICE
for failure to comply with the Magistrate Judge’s Order of March 12, 2024. See
LR 41.3A(2), NDGa.

The Clerk is DIRECTED to close the civil case file.

IT IS SO ORDERED this 3p"d day of May, 2024.

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MARK H. COHEN
United States District Judge

